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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN

ARI KRESCH, MERCHANT’S CREDIT
RECOURSE, LLC, JOHN MOLESKI, & JESSE
MOLESKI

Plaintiff,


vs.


DONALD MILLER, KYLE ARNESON, &
UNIVERSITY CAPITAL SOLUTIONS LLC,
AND DOES 1-50

Defendants.

                                              COMPLAINT
         Plaintiffs Ari Kresch and Merchant’s Credit Recourse, LLC, John Moleski, and Jesse Moleski,

by and through their attorneys, EXCOLO LAW, PLLC, respectfully allege the following:

                                           NATURE OF CASE
      This is an action to recover damages for injuries sustained by Plaintiffs Ari Kresch, and Merchant’s

Credit Recourse, LLC, John Moleski, and Jesse Moleski (collectively “Plaintiffs”) as the direct and

proximate result of the fraud of Defendants to induce Plaintiffs to invest $646,460.39 with UCS and for

breach of contract.

                                    PARTIES AND JURISDICTION
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1. Plaintiff Ari Kresch (“Kresch”) is a domiciliary of San Juan, Puerto Rico. Kresch is the manager of

   Merchant’s Credit Recourse, LLC. At all relevant times for this complaint, Kresch was a domiciliary

   of Michigan.

2. Plaintiff Merchant’s Credit Recourse, LLC (“MCR”) is a Michigan limited liability company located

   in the city of Southfield, Michigan specifically targeted at collecting on Michigan debt portfolios.

3. Plaintiff John Moleski is a resident of the City of Palm Beach, State of Florida and is a domiciliary

   of Florida. John Moleski is a CPA who performed debt collection projections for defendants. He

   was employed by Defendant University Capital Solutions. In addition, John Moleski invested money

   with Defendants.

4. Plaintiff Jesse Moleski is a domiciliary of the City of Syracuse, State of New York and John Moleski’s

   father. Jesse Moleski invested money with Defendants.

5. Defendant Donald Miller (“Miller”) upon information and belief is a domiciliary of Kent County

   Florida. He is also the Co-founder and manager of University Capital Solutions (“UCS”).

6. Defendant Kyle Arneson (“Arneson”) upon information and belief is a domiciliary of Cook County

   Illinois. He was also the VP of Capital Formation for UCS.

7. University Capital Solutions, LLC, (“UCS”), is a Florida limited liability corporation that allegedly

   purchased private student loan debt generated by the universities with the intent to collect on those

   debts. On September 27, 2013, UCS was placed in inactive status by the Florida Department of State

   for failure to file required annual reports.

8. The true names and capacities of Defendants DOES 1 through 50, inclusive, whether individual,

   corporate, associate or otherwise, are unknown to Plaintiffs, who therefore sues said Defendants by

   such fictitious names. Plaintiffs will amend their Complaint to allege said Doe Defendants' true names

   and capacities when the same have been ascertained. Plaintiffs are informed and believe, and based

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   upon such information and belief alleges that each defendant designated herein is responsible in some

   actionable manner for the occurrences and injuries alleged herein.

9. At all times herein mentioned, UCS, Miller, and Arneson, and each of them, were an owner, a co-

   owner, an agent, representative, partner, and/or alter ego of each other, or otherwise acting on behalf

   of each and every remaining defendant, and in doing the things hereinafter alleged, were acting within

   the course and scope of their authorities as an owner, a co-owner, an agent, representative, partner,

   and or alter ego of its co-Defendants, with the full knowledge, permission and consent of each and

   every remaining co-Defendant, each co- defendant having ratified the acts of the other co-

   Defendants.

10. Plaintiffs allege that there exists, and at all times herein mentioned existed, a unity of interest between

   UCS, Miller, and Arneson such that any individuality and separateness between the UCS, Miller, and,

   Arneson has ceased and that UCS, Miller, and Arneson is an alter ego of the others as follows:

               a. At all times herein mentioned, Miller and Arneson was and is in active and direct

                    participation in UCS as an officer and director and in doing the things hereinafter

                    alleged, was acting within the course and scope of their authorities as an agent,

                    representative, partner, and or alter ego of its UCS, with the full knowledge,

                    permission and consent of each and every remaining co-Defendant, each co- defendant

                    having ratified the acts of the other co- Defendants.

               b. Plaintiffs allege that Miller and Arneson at all times herein mentioned, controlled and

                    governed UCS.

               c.   Plaintiffs alleges that UCS is, and at all times herein mentioned was, a mere shell and

                    sham. Said Corporate Defendant UCS was conceived, intended, and used by Miller and

                    Arneson   as a device to avoid individual liability. Furthermore, because UCS failed to

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                   follow laws and requirements of limited liability corporations within Florida, UCS

                   was placed on inactive status and administratively dissolved in 2012.

               d. Plaintiffs allege that Corporate Defendant UCS is, and at all times herein mentioned

                   was, so inadequately capitalized that, compared with the business to be done by

                   Corporation Defendant UCS and the risks of loss attendant thereto, its capitalization

                   was illusory or trifling.

               e. Plaintiffs allege that Corporate Defendant UCS is, and at all times mentioned herein

                   was, a mere shell, instrumentality and conduit through which Miller and Arneson

                   carried its business in the name of UCS exactly as they conducted it previous to

                   incorporation exercising complete control and dominance of such business to such an

                   extent that any individuality or separateness of UCS, Miller, and Arneson does

                   not now, and at any time herein mentioned did not, exist.

               f. Plaintiffs allege that UCS is, and at all times herein mentioned was, controlled,

                   dominated, and operated by Miller and Arneson as their individual business and alter

                   ego.

               g. Plaintiffs allege that adherence to the fiction of separate existence of UCS as an entity

                   distinct from Miller and Arneson would permit abuse of the corporate privilege and

                   produce an inequitable result, thereby unfairly and deceptively conducting business.

11. Because of the acts, and omissions complained of hereinabove, UCS, Miller, and Arneson are jointly

   and severally liable, for all relief sought herein by Plaintiff.

12. UCS, Miller, and Arneson, conspired together to engage in the conduct complained of. Each

   Defendant knew of the tortious conduct and ratified the conduct through their individual actions.

13. The exact role of each Defendant as pertains to the instant case is known only to the Defendants.

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14. When in this Complaint reference is made to any act of Defendants, such shall be deemed to mean

   that officers, directors, agents, employees, or representatives of the Defendant named in this lawsuit

   committed or authorized such acts, or failed and omitted to adequately supervise or properly control

   or direct their employees while engaged in the management, direction, operation or control of the

   affairs of the Defendant and did so while acting within the scope of their employment.

                                    VENUE AND JURISDICTION

15. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1332(a)(1)

    (federal question jurisdiction) as this case arises out of federal laws 18 U.S.C. §1962(c) and 18

    U.S.C. §1964. Under 28 U.S.C. § 1367, the Court may also exercise jurisdiction over Plaintiff’s

    state law claims as they are all related to the same transactions with Defendants for which liability

    attaches under federal question jurisdiction.

16. Venue lies in this District pursuant to 28 U.S.C. §1391 because Plaintiff MCR is domiciled in this

   Judicial District, MCR and Kresch signed all contracts in this Judicial District, and a substantial part

   of the events or omissions giving rise to Plaintiffs’ claims occurred in this Judicial District. In

   addition, Defendants did business and/or transacted business in this Judicial District and, therefore,

   are subject to personal jurisdiction in this Judicial District.

                                     FACTUAL BACKGROUND
   A. Plaintiffs Ari Kresch and Merchant’s Credit Recourse, LLC

17. Plaintiffs incorporate by reference the allegations in all previous paragraphs

18. Plaintiff Ari Kresch owned and operated a debt buying business, Plaintiff MCR, specifically targeted

   at collecting on Michigan debt portfolios.




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19. On February 16, 2012, Defendants approached Plaintiffs Kresch and MCR with an opportunity to

      purchase student loan debt that Defendants claimed would fit the investing criterion of MCR’s debt

      buying business.

20. Defendants went on to inform Kresch and MCR about University Capital Solutions. UCS was an

      organization, that purchased private student loan debt generated by the universities at a discount and

      then collected on it.

21. Shortly after, Defendants had extensive conversations with Kresch and MCR about the viability

      and profitability of coordinating a workable deal with UCS. At all times, Defendants represented

      that UCS already owned a significant amount of “student gap debt,” including Michigan schools,

      for MCR to collect.

22. Defendants sent Kresch and MCR materials describing UCS’s business operations and financial

      projections along with a link to a video presentation used for marketing to college presidents.

23.    Miller’s agents represented that they had personally seen Miller’s UCS office, that the “computer

       system” and supporting technologies were top notch, the operation was mature, and was producing

       revenue.

24.    On February 21, 2012, Defendants further asserted that UCS’s Account Receivable Management

       services markets to over 2000 universities and 1200 colleges and are in negotiations with over 400.

       Additionally, it was explained that 52 private and public student loan lenders had been contacted

       through UCS’s marketing efforts and as a result, UCS was currently purchasing such portfolios at

       deep discounts. It was advised that to date that UCS had over $400,000,000.00 (400 million) worth

       of portfolios booked and/or under contract for immediate purchase.

25.     Defendants further attached a breakdown of Michigan schools interested in selling UCS

       delinquent accounts.

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26. Relying on the materials and representations authored and given by Miller personally and/or via his

    agents, Kresch and MCR decided to enter into a note purchase agreement with UCS on March 7,

    2012. Exhibit A. On May 14, 2012, MCR wired $500,000.00 in accordance with the agreement.

27. As part of the note purchase agreement, MCR was provided with a Senior Corporate Debenture due

    March 7, 2013. The essential term of the debenture was that MCR was to be repaid within one year

    at 12% interest. UCS had the right to extend for an additional year. No such extension was

    requested by UCS. Thus, the entire amount of $560,000 was due and payable on March 7, 2013.

    No amounts were paid.

28. Further, UCS and MCR entered into a “collection servicing agreement” on May 23, 2012. Exhibit

    B. According to the collection servicing agreement, MCR would be the Exclusive Collection Agent

    for the State of Michigan in exchange for a $500,000.00 load to UCS discussed above that UCS

    would use to purchase debt portfolios for pennies on the dollar from educational institutions

    throughout the United States including institutions located in Michigan.

29. Throughout the course of business with Defendants, Kresch and MCR would frequently ask

    Defendants to identify the Michigan portfolios that Defendants advertised about and when MCR

    could start collecting. Defendants led Kresch and MCR on for almost year with different excuses

    as to why there was no Michigan debt portfolios available. To this date MCR has never received a

    single Michigan debt portfolio from UCS.

30. In 2014, Kresch and MCR discovered that UCS never had any of the Michigan portfolios they

    claimed to have or any personal contacts with college and university presidents in Michigan.

31. Kresch and MCR also found out that the all of the representations regarding purchasing debt

    portfolios in Michigan were false and that Defendants never intended to buy any debt portfolios

    from Michigan.

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32. Additionally, Plaintiffs later learned from the Illinois Department of Securities that the $500,000.00

    they paid was not used to buy debt portfolios but was instead mainly placed into Miller and his

    agents’ personal bank accounts:

               a. Donald Miller: $300,000
               b. Kyle Arneson: $37,000


   B. Plaintiff John Moleski

33. Plaintiffs incorporate by reference the allegations in all previous paragraphs

34. In 2011, Plaintiff Moleski was introduced to Defendants through a friend.

35. Shortly after meeting Defendants, Moleski agreed to work for Miller in April 2011.

36. Plaintiff Moleski worked for 15 months with Miller and UCS. Moleski created the recovery

   projections and analytics based on historic data that Defendants used to present UCS as a great

   investment opportunity.

37. Throughout his time working with Defendants, Moleski personally invested $85,960.39 into UCS.

38. Defendant’s represented that Moleski would be hired as an executive and make $125,000 as a salary

   once the company got off the ground.

39. Through his many months working with Defendants, Plaintiff Moleski saw Defendants raise at least

   $1.1 million in investments into UCS (including his own $85,960.39 and Kresch/MCR’s

   $500,0000.)

40. In his time working with Defendants, Moleski came into contact with many colleges and universities

   who were ready and willing to sell student loan debt portfolios to UCS.

41. Despite the clear interest and funds available, UCS spent at most $40,000 of the 1.1 million they

   raised in debt portfolios.

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42. After months of work and almost $86,000 given in investments and loans, Moleski was only paid

    $10,000 in reimbursements.

43. Instead of taking the money and investing them in portfolios or into the company as promised

    Defendant’s took the money and deposited it into their personal bank accounts.

44. Defendants additionally failed to provide Moleski any salary or payment for the work performed

    over the 15 months of employment.

    C. Plaintiff Jesse Moleski

45. Plaintiffs incorporate by reference the allegations in all previous paragraphs

46. John’s father, Jesse Moleski, learned of UCS and all of the representations that Miller made to John

    following John’s investment with UCS.

47. Based off of the representations and materials provided to his son, Jesse Moleski decided that he too

    would like to invest into UCS.

48. On May 4, 2011, Miller emailed a subscription agreement to John to give his father to sign.

49. Following the execution of the agreement Jesse wired $60,500.00 to UCS.

50. Instead of taking the money and investing them in portfolios or into the company as promised

    Defendant’s took the money and deposited it into their personal bank accounts.

    D. Facts Common to All Plaintiffs

51. Plaintiffs incorporate by reference the allegations in all previous paragraphs

52. Defendants acted together and individually in systematically misrepresenting UCS’ intent to use the

    investments and dividends to buy portfolios or grow the business as mentioned above.

53. The misrepresentations, nondisclosure, and/or concealment of material facts made by Defendants to

   Plaintiffs, as set forth above, were known, or through reasonable care should have been known, by

   Defendants to be false and material and were intended to mislead Plaintiffs.
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54. Plaintiffs were actually misled and deceived and were induced by Defendant to invest hundreds of

   thousands of dollars into UCS which they would not otherwise have invested.

55. Plaintiffs acted reasonably in relying that Defendants representations about intent to use the

   investments and dividends to buy portfolios and grow the business and had no reasonable way to

   determine that these assertions were not accurate.

56. Defendants took the monies Plaintiffs reasonably invested into UCS and deposited it into their

    personal bank accounts.

57. As a result of the conduct of Defendants, Plaintiffs have been damaged in the amount of

    $646,460.39.

            DISCOVERY RULE, TOLLING, AND FRAUDULENT CONCEALMENT

58. Plaintiffs incorporate by reference all of the above paragraphs as if set forth in full herein.

59. Plaintiffs hereby allege and assert any and all applicable state statutory and common law claims,

    rights, theories, and/or principles of tolling or extension of any and all applicable statute(s) of

    limitations and statute(s) of repose, including but not necessarily limited to equitable tolling, delayed

    discovery, discovery rule, and fraudulent concealment.

60. Plaintiffs plead that the discovery rule should be applied to toll the running of any applicable statute

    of limitations until Plaintiffs knew, or through the exercise of reasonable care and/or diligence

    should have known, of facts indicating that Plaintiffs had been injured, the cause of the injury, and

    the tortious nature of the wrongdoing that caused the injuries.

61. Despite diligent investigation by Plaintiffs into their injuries and the cause of their injuries, the nature

    of Defendant’s fraudulent conduct was not discovered, and through reasonable care and/or diligence

    could not have been discovered, until a date within the applicable statute of limitations for filing

    Plaintiffs’ claims. Therefore, under appropriate application of the discovery rule, Plaintiffs’ suit was
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    filed within the applicable statutory limitations period.

62. Any applicable statute of limitations is tolled due to equitable tolling.      Defendants are estopped

    from asserting a statute of limitations defense due to the fraudulent concealment of Defendants,

    and/or    their   predecessors   in   interest   and/or     their   subsidiaries,   through   affirmative

    misrepresentations and omissions to Plaintiffs. As a result of said fraudulent concealment, Plaintiffs’

    were unaware, and could not have learned through reasonable care and/or diligence, of the true

    nature of Defendants fraudulent conduct.

63. Defendants are estopped from asserting a statute of limitations defense because Defendants, and/or

    their predecessors in interest and/or their subsidiaries, defrauded Plaintiffs and fraudulently

    concealed from Plaintiffs the connection between their losses and the acts and omissions of

    Defendants, and/or their predecessors in interest and/or their subsidiaries.

          COUNT I: BREACH OF CONTRACT FOR PLAINTIFFS MCR & KRESCH
64. Kresch and MCR incorporates by reference the allegations made in all previous paragraphs.

65. Plaintiffs and Defendants Miller & UCS entered into a note purchase agreement attached as Exhibit

   A. The parties initialed each page of the agreement and signed the agreement.

66. Plaintiffs provided consideration by paying $500,000. Miller and UCS provided consideration in the

   form of a Senior Corporate Debenture due March 7, 2013 for $500,000 at 12% interest. Furthermore,

   by subscribing to the Debenture, UCS allowed MCR to be the Exclusive Collection Agent for the

   MCR accounts located within the State of Michigan.

67. The parties accepted to terms of the agreement as exhibited by their signatures being affixed to the

   contract and by Plaintiff performing the required services in reliance that Plaintiff would be allowed

   to collect Michigan Portfolios and receive fees for the provision of those services.

68. Both parties understood the terms of the agreement. The agreement was drafted by Miller, an


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   attorney. Plaintiff provided the funds as described in the contract.

69. A valid contract existed because all of the elements requiring the formation of a contract were

   satisfied.

70. Plaintiffs performed by paying $500,000.

71. Defendant’s benefitted from Plaintiff’s services provided under the contract, Exhibit A in that

   Defendants received $500,000.

72. Thus, MCR and UCS entered into a valid agreement for the purchase of a note.

73. To date, Defendants have defaulted on the terms of the Debenture by not making any payments in

   accordance with the Debenture.

74. MCR and UCS also entered into a Collection Servicing Agreement on May 23,2012. Exhibit B.

   This agreement was initialed on each page and signed by MCR and UCS.                    MCR provided

   consideration by entering into a $500,000 Debenture subscription with UCS.               UCS provided

   consideration by making MCR the exclusive collection agent for Michigan loans. Thus, a valid

   contract existed between MCR and UCS for collection servicing in the state of Michigan.

75. As acknowledged in section 2.01(2)(a), MCR made a debt investment of $500,000 in UCS.

76. To this day Plaintiffs Kresch and MCR have never received a single Michigan debt portfolio from

   Defendants.

77. Plaintiff has been further damaged by Defendants because they did not earn profits from collections

   of delinquent loans in an amount to be determined at trial.

78. WHEREFORE, Plaintiff requests that this Court enter judgment in its favor and against Defendant in

   the amount of at least $500,000 together with interest, costs, attorneys' fees, and any other relief that

   the Court deems just and equitable under the circumstances.

           COUNT II: BREACH OF CONTRACT FOR PLAINTIFF JOHN MOLESKI

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79. Plaintiff incorporates by reference the allegations made in all previous paragraphs.

80. John Moleski and Defendants Miller & UCS entered into a contract whereby in exchange for

   $25,000 from John Moleski, UCS provided John Moleski with a Senior Convertible Balloon

   Promissory Note attached as Exhibit C. Payment of $25,000 at 12% interest was due Moleski on

   May 9, 2012.

81. As shown in Exhibit C, Moleski paid $25,000 to UCS.

82. To Date, UCS has failed to make any payments as required by the note.

83. UCS had an option to extend the note by one year. UCS did not make payment on May 9, 2012 and

   thus extended the note for an additional year making the payment due on May 9, 2013.

84. Moleski is due at least $31,660 plus interest from May 9, 2013 plus attorneys’ fees and court costs

   associated with enforcement of the note.

85. Moleski made additional investments on substantially the same terms. The amount of these

   investments will be proven at trial.

86. WHEREFORE, Plaintiff John Moleski requests that this Court enter judgment in its favor and

   against Defendant in the amount to be proven at trial plus reasonable attorneys’ fees and costs and

   any other relief that the Court deems just and equitable under the circumstances.

         COUNT III: BREACH OF CONTRACT FOR PLAINTIFF JESSE MOLESKI
87. Plaintiff incorporates by reference the allegations made in all previous paragraphs.

88. Jesse Moleski and Defendants Miller & UCS entered into a subscription agreement by which Jesse

   Moleski invested $60,500 and UCS provided Moleski with an equity interest in UCS.

89. Each party understood the subscription agreement, there was an offer, acceptance, and consideration

   exchanged. Therefore, UCS and Jesse Moleski entered into a valid, enforceable contract.

90. The funds provided by Jesse Moleski were to be used for the acquisition of delinquent loan


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      portfolios. No such portfolios were ever acquired.

91. Although Jesse Moleski has fully performed under the contract, UCS has breached its duties under

      the subscription agreement.

92. Jesse Moleski is due at least $60,500 plus attorneys’ fees and court costs associated with enforcement

      of the note.

93. WHEREFORE, Plaintiff Jesse Moleski requests that this Court enter judgment in its favor and

      against Defendant in the amount to be proven at trial plus reasonable attorneys’ fees and costs and

      any other relief that the Court deems just and equitable under the circumstances.

                     COUNT IV: FRAUD FOR PLAINTIFFS MCR & KRESCH
94.    Plaintiffs incorporates by reference the allegations in all previous paragraphs.

95.    Defendants knowingly made several representations to Plaintiffs Kresch/MCR in respect to UCS

       already owning and/or looking to purchase Michigan debt portfolios, Defendants’ intention of

       paying dividends, and using Plaintiffs’ money to buy portfolios from educational institutions that

       in part would be given to MCR to collect upon.

96.    Defendants knew these statements were false and never intended to buy any debt portfolios from

       Michigan.

97.    Miller and his agents made the above knowingly false statements for the purpose of causing

       Plaintiffs to rely on those representations and invest a total of $500,000.00.

98.    Plaintiffs relied on these knowingly false statements and invested $500,000.00.

99.    Rather than using Plaintiffs’ money to grow the business or buy portfolios from educational

       institutions as he represented, Miller deposited Plaintiffs’ investment into his personal bank

       accounts and the personal bank accounts of his agents.




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100. Communications with Plaintiffs by Defendants after the initial investment were knowingly

     designed by Defendants to lull Plaintiffs in to believing their investments were sound and that

     Plaintiffs would be provided with collection portfolios to collect upon.

101. As a direct and proximate cause of the Miller’s illegal actions, Plaintiffs incurred damages of at

     least $500,000.00.

102. WHEREFORE, Plaintiff requests that this Court enter judgment in its favor and against Defendant

     in the amount of at least $500,000.00 together with interest, costs, attorneys' fees, and any other

     relief that the Court deems just and equitable under the circumstances.

         COUNT V: NEGLIGENT MISREPRESENTATION FOR ALL PLAINTIFFS
103. Plaintiff incorporates by reference all allegations of the preceding paragraphs as though fully set

     forth herein.

104. Defendants had a duty to provide honest and accurate information to investors so that they could

     make informed decisions when deciding where to invest.

105. Defendants specifically and expressly misrepresented material facts to Plaintiffs, as discussed

     above. Each Defendant was aware that UCS did not own and/or was not looking to purchase

     Michigan or any collectable debt portfolios, that Defendants’ had no intention of paying dividends,

     looking to hire anyone as an executive, and that Defendants had no intention of using Plaintiffs’

     money to buy portfolios from educational institutions or to grow the business.

106. Defendants knew, or in the exercise of reasonable diligence, should have known, that the ordinary

     and reasonable investor would be misled by Defendants misleading and deceptive representations.

107. Each Defendant was aware that the information provided to investors about UCS’ intentions, was

     not accurate.



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108. Plaintiffs justifiably relied on Defendant’s misrepresentations and have been damaged thereby in

     an amount of at least $646,460.39.

109. WHEREFORE, Plaintiff requests that this Court enter judgment in its favor and against Defendant

     in the amount of at least $646,460.39. together with interest, costs, attorneys' fees, and any other

     relief that the Court deems just and equitable under the circumstances.

    COUNT VI: VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
  ORGANIZATIONS ACT (“RICO”) 18 U.S.C. §1962(c) FOR PLAINTIFFS KRESCH AND
                                   MCR
110. Plaintiff incorporates by reference all allegations of the preceding paragraphs as though fully set

    forth herein.

111. The association of University Capital Solutions, Donald Miller, and Kyle Arneson (cumulatively,

    the “Conspirators”), constituted an enterprise within the meaning of 18 U.S.C. §1961(c), which

    enterprise was engaged in, and whose activities affected, interstate and foreign commerce. This

    enterprise was continuous in that it lasted for more than 4 years, had an ascertainable structure, and

    was distinct from the predicate offenses alleged here.

112. Each Conspirator is a person within the meaning of 18 U.S.C. §1961(3) and separate from the

    enterprise.

113. Defendant Donald Miller was in charge of all its operations. As such, he set up, orchestrated, and

    supervised the entire racketeering scheme at issue.

114. Conspirators’ scienter is clearly established from their pattern and practices at issue.

115. Conspirators participated, and conspired with others (including their attorneys and others whose

    identities are known only to Conspirators at this time) to participate, in the affairs of the

    aforementioned enterprise through a pattern of racketeering activity, as more fully set forth below,

    and all in violation of 18 U.S.C. § 1962(c).

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116. Conspirator’s scheme was to induce MCR to loan money to UCS by offering the exclusive right to

    collect on UCS’s Michigan portfolios. Conspirators did this knowing that MCR was in the business

    of collecting debt. Conspirators made representations to MCR that they had significant portfolios

                                1. Wire Fraud, Violations of 18 U.S.C. §1343

117. Defendants and the other members of the enterprise, having devised or intending to devise the

    scheme or artifice to defraud, and/or for obtaining money or property by means of false or

    fraudulent pretenses, representations, or promises, for the purpose of executing such scheme or

    artifice or attempting so to do, deposited checks and cash into a bank that is part of the interstate

    banking system. In all, each check deposited and email sent constitutes a separate occurrences of

    wire fraud. Specifically,

        A. Each payment sent to University Capital Solutions via wire transfer as discussed above was

          deposited into a bank in the United States.

        B. Defendants have exchanged several email messages to Plaintiffs Kresch/MCR asserting

          fraudulent representations in furtherance of their scheme:

                i.   February 16, 2012: Miller’s agent emails Plaintiff’s controller UCS’s Private

                     Placement Memorandum describing UCS’s business operations and financial

                     projections along with a link to a video presentation used for marketing to college

                     presidents.

               ii.   February 21, 2012: Miller’s agent also emails Plaintiff’s controller stating that

                     states UCS’s Account Receivable Management services markets to over 2000

                     universities and 1200 colleges and are in negotiations with over 400. Additionally,

                     52 private and public student loan lenders had been contacted through UCS’s

                     marketing efforts. He further stated that as a result, UCS is currently purchasing
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         such portfolios at deep discounts and identified over 4 billion dollars of accounts

         receivable where 1 billion is potentially eligible. Finally advising that to date it has

         over 400M booked/under contract for immediate purchase and attached a

         breakdown of Michigan schools interested in selling UCS delinquent accounts.


  iii.   March 1, 2012: Miller sends Plaintiff’s controller a subscription agreement and

         addendum outlining the parties’ agreement.

  iv.    March 16, 2012: Miller’s agent emails Plaintiff a flowchart for calls received by

         the NCO Columbus branch, a basic inbound call script, a series of demand letters

         for soft recovery phase, UCS mapping designators, MCR-GLBA, and

         representative document of collections reporting from NCO.

   v.    March 21, 2012: Miller’s agent forwards an updated UCS inbound activity report

         and disposition code for MCR to utilize as a general template and sample activity

         files of phase one and two accounts.

  vi.    March 22, 2012: Miller forwards a Collection Servicing Agreement. Miller’s agent

         forwards sample GLBA’s along with current NCO collections/recovery work flow

         and UCS logo.

  vii.   July 7, 2012: Plaintiff requests a status from Miller’s agent on the Michigan

         portfolios and Miller’s agent advises they are “awaiting the final pieces to align.”

 viii.   July 13, 2012: Miller’s agent advises Plaintiff he will firm data on new Michigan

         portfolios in the pipeline.

  ix.    July 18, 2012: Miller’s agent advises Plaintiff that UCS in having a meeting to

         ensure everything is getting done to expedite the Michigan portfolios.


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       x.    October 10, 2012: Plaintiff emails Miller requesting status of Michigan portfolio

             promised by Miller to Kresch on their September 27, 2012, meeting. Miller

             responds that they are checking the status.

      xi.    October 26, 2012: Miller emails Plaintiff that he is working on several portfolios

             but they are not in my ideal states. He further asserts that the Michigan portfolio

             hasn’t been released and he is also awaiting approval from financing sources to

             ramp up Michigan and other states.

     xii.    November 9, 2012: Miller responds to Plaintiff’s email that the portfolio he

             received (comprised of loans originating from one entity from several hundred

             schools) that morning was for a $23,000,000 (23 Million) of performing and re-

             performing private student loans and that bids were due by November 20, 2012.

             Miller also advised that he hadn’t seen the portfolio but heard about it from a

             manager and believes there are Michigan schools included.

    xiii.    June 20, 2013: Plaintiff requested a status update. Miller replied that he has no

             access to when a portfolio is released and cites FDCPA and other federal

             regulations that hold up universities that are still on paper.

C. Defendants have exchanged several email messages to Plaintiff John Moleski asserting

  fraudulent representations in furtherance of their scheme:

      i.    March 28, 2011: Don Miller emails Plaintiff a non-disclosure agreement to sign

            about UCS.

     ii.    April 14, 2011: Don Miller emailed Plaintiff thanking him for his interest in

            University Capital. Don Miller included a consulting agreement as well as the Private

            Placement Memorandum with this email.

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               iii.   May 4, 2011: Miller gives Plaintiff information so that Plaintiff’s father can invest

                      $50,000 into UCS.

               iv.    May 10, 2011: Miller emailed Plaintiff a personal service agreement outlining that

                      Plaintiff would be hired as an executive and earn $125,000 as an annual salary.

                v.    September 21, 2011: Miller emailed Plaintiff confirming that he deposited $5,000

                      in cash received from Plaintiff.

               vi.    October, 2011: Miller emailed Plaintiff confirming that the $7,100 Plaintiff provided

                      was deposited.

              vii.    November 24, 2012: Miller emailed Plaintiff confirming that the $5,179.16 Plaintiff

                      provided was deposited.

              viii.   January 3, 2012: Miller emailed Plaintiff confirming Plaintiff’s $5,390.29 deposit

                      into UCS.

118. Each participant knew, expected, reasonably foresaw, and intended that the facilities of the wires

       affecting interstate commerce would be used in furtherance of the racketeering scheme, and that

       such use was an essential part of the scheme.

119.     The Conspirators acted willfully and with intent to mislead Plaintiffs in respect to:

          a) UCS already owning and/or looking to purchase Michigan debt portfolios;

          b) Conspirators’ intention of paying dividends and using Plaintiffs’ money to buy collectable

             portfolios from educational institutions.

          c) Conspirators’ intention of paying dividends to investors.

120. Plaintiffs relied upon Conspirators’ representations, and such reliance was reasonable.

121. On dates and times, known only to the Conspirators, Conspirators, in furtherance of the racketeering

       scheme, deposited checks and cash into the interstate banking system.

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122. On dates and time, known only to the Conspirators, Conspirators, in furtherance of the racketeering

    scheme, used text messaging and electronic mail to communicate with each other over the wires.

123. Each Defendant, acted in concert with to disseminate untrue and misleading information to

    Plaintiffs.

124. The practice of fraudulently representing UCS’ assets, UCS’ contacts, and intentions of purchasing

    debt were intended to defraud Plaintiffs by convincing them that UCS was a reasonable investment

    opportunity.

125. Communications with Plaintiffs by Defendants after the initial investment were designed by

    Defendants to lull Plaintiffs in to believing their investments were sound.

126. As a result of these misrepresentations Plaintiff and other members of the Class to invested

    hundreds of thousands with UCS only for Defendants to place the investments in their bank

    accounts.

                                          PRAYER FOR RELIEF
WHEREFORE, Plaintiffs, request that this Court award relief as follows:

           A. Pursuant to Plaintiff’s causes of action, a judgment awarding Plaintiffs as restitution and/or

                  other equitable relief, including, but not limited to, restitutionary disgorgement of all profits

                  and unjust enrichment that Defendants obtained from Plaintiffs as a result of its unlawful,

                  unfair and fraudulent business practices described herein;

           B. Treble damages as allowed under RICO, 18 U.S.C. 1962(c) and (d).

           C. A judgment awarding Plaintiffs their costs of suit; including reasonable attorney's fees pursuant

                  to Mich. Comp. Laws Ann. § 600.2405 and as otherwise permitted by statute; and pre and post-

                  judgment interest;

           D. Such other and further relief as the Court deems appropriate.
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                                            JURY DEMAND
       Plaintiff hereby demands a trial by jury as to all issues so triable.

                                                      Respectfully submitted,


                                                      /s/ Keith Altman
                                                      Keith Altman (P81702)
                                                      The Law Office Of Keith Altman
                                                      Attorney for Plaintiff
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Dated: January 3, 2018




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